
USCA1 Opinion

	










          April 4, 1996
                                [NOT FOR PUBLICATION]

                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT
                                 ____________________



        No. 95-2245


                                   ROBERT WILLIAMS,

                                Plaintiff, Appellant,

                                          v.

                                 GEORGE VOSE, ET AL.,

                                Defendants, Appellees.

                                 ____________________


                     APPEAL FROM THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF RHODE ISLAND

                       [Hon. Mary M. Lisi, U.S. District Judge]
                                           ___________________

                                 ____________________

                                        Before

                                Torruella, Chief Judge,
                                           ___________
                           Stahl and Lynch, Circuit Judges.
                                            ______________

                                 ____________________

            Robert Williams on brief pro se.
            _______________
            Michael B.  Grant, Senior Legal  Counsel, Rhode Island  Department
            _________________
        of  Corrections,  on Memorandum  in  Support  of  Motion  for  Summary
        Disposition, for appellees.


                                 ____________________


                                 ____________________



                      Per Curiam.   Robert Williams, who is  incarcerated
                      __________















            in  the  High  Security  prison  at  the  Adult  Correctional

            Institution  in  Rhode  Island,  appeals  from  the  district

            court's dismissal of his  suit against state prison officials

            under 42 U.S.C.    1983.   We affirm,  substantially for  the

            reasons given in the magistrate judge's report dated July 27,

            1995,  which the district court adopted as its decision.1  We
                                                                    1

            add only the following comments.

                      1.  The disciplinary  board imposed a 30-day period

            of punitive segregation on Williams.  Thus, Sandin v. Conner,
                                                        ______    ______

            115 S. Ct. 2293 (1995), is controlling, as the district court

            recognized,   and  dismissal  of  Williams'  claim  that  his

            disciplinary hearing  was conducted  in violation of  his due

            process  rights   was  correct.2     Although   Williams  was
                                           2

            subsequently  reclassified  and  so  apparently   endured  an

            additional period of segregation, he has not asserted any due

            process error in the classification proceeding which resulted

            in  that separate period of  segregation.  In  the absence of

            any  allegation of constitutional error in the classification

            proceeding, the district court  had no obligation to consider

            whether   Williams'   subsequent  segregation   implicated  a

            constitutional liberty interest.

                                
            ____________________

               1We  hereby grant  defendants' motion to  summarily affirm
               1
            the judgment  below and deny  Williams' motion to  proceed in
            forma pauperis on appeal. 

               2Consequently, the  district court did not  err in denying
               2
            Williams' discovery  requests, all of  which sought  material
            relevant to his due process claims.

                                         -2-















                      2.    Contrary to  Williams'  claim,  the testimony

            before  the  magistrate  judge  on conditions  at  the  Adult

            Correctional Institution included  testimony on conditions at

            the High Security facility.  

                      We  affirm  the  judgment  of  the  district  court
                      ___________________________________________________

            dismissing appellant's federal claims.  See Loc. R. 27.1.  We
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            modify the judgment below to dismiss appellant's state claims
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            without prejudice.
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